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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
                                                 	  
DISPLAY TECHNOLOGIES, LLC,

                                                        Civil Action No. 2:17-cv-00192-JRG-RSP
                      Plaintiff,
                                                           CONSOLIDATED LEAD CASE
               v.
                                                             JURY TRIAL DEMANDED
CANON U.S.A, INC., et al.,

                      Defendants.


         JOINT MOTION TO STAY AND NOTICE OF SETTLEMENT

        Plaintiff Display Technologies, LLC and Defendant Panasonic Corporation of North

America, Inc. hereby notify the Court that all matters in controversy in the consolidated action

between these two parties, and only these two parties, have been settled, in principal. The parties

request a stay of the case for 30 days, including but not limited to the scheduling conference set

for July 25, 2017 at 1:30 p.m. and the entry of a Docket Control Order, to afford them time to

complete the execution of a settlement agreement and to submit appropriate dismissal papers.




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       DATED July 14, 2017.                         Respectfully submitted,

                                                    /s/ Thomas C. Wright
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                                                    ATTORNEYS FOR DEFENDANT
                                                    PANASONIC CORPORATION OF
                                                    NORTH AMERICA



                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been served upon counsel of

record via the Court’s CM/ECF system on July 14, 2017.


                                                    /s/ Thomas C. Wright




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